Case 14-04114       Doc 31    Filed 12/03/14     Entered 12/03/14 10:59:42     Main Document
                                               Pg 1 of 2


                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION                               Dec 02, 2014
 In Re:                                        )     Chapter 7
                                               )
 Josiah M. Cox and Laura E. Cox,               )     Case No. 14-04114
                                               )
                Debtors,                       )     Adv. Pro. No.
                                               )
                                               )     Complaint to Determine
                                               )     Dischargeabilty of Debt
 Jay R. Herigodt & Joy Stowell,                )
                                               )
 v.                                            )
                                               )
 Josiah M. Cox,                                )
                                               )
          Defendant.                           )
                                               )

                              MEMORANDUM OF DISMISSAL

          COME NOW, Plaintiffs, Jay Herogodt and Joy Stowell and hereby dismiss their cause of

 action against Josiah Cox with prejudice.




                                                     Respectfully Submitted,



                                                     /s/ Jason A. Charpentier
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Case 14-04114       Doc 31     Filed 12/03/14     Entered 12/03/14 10:59:42        Main Document
                                                Pg 2 of 2




                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 1st of December, 2014 I electronically filed foregoing pleading
 with the Clerk of the Court using the CM/ECF system which will send notification of such filing
 to all parties/attorneys of record.

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